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 6   Attorney for Carolyn Willis-Casey

 7                               UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF NEVADA
 9
                                                    )
10                                                  )
     UNITED STATES OF AMERICA,                      )
11                                                  )    CASE NO: 2:12-cr-463-JCM-VCF
                    Plaintiff,                      )
12                                                  )    UNOPPOSED MOTION TO
                    vs.                             )    TEMPORARILY MODIFY CONDITIONS
13                                                  )    OF PRETRIAL RELEASE AND
     CAROLYN WILLIS-CASEY,                          )    PROPOSED ORDER
14                                                  )
                    Defendant.                      )
15                                                  )
                                                    )
16                                                  )

17          COMES NOW, JAMES A. ORONOZ, ESQ., counsel for CAROLYN WILLIS-CASEY,
18   and hereby submits the following Unopposed Motion to Temporarily Modify Conditions of
19
     Pretrial Release seeking an order authorizing pretrial services to temporarily return Ms. Willis-
20
     Casey’s passport to her so that she may obtain a drivers license and reapply for a replacement
21
22   green card. This motion is based upon the points and authorities contained herein.

23                                                Respectfully Submitted by:
24
                                                  /s/ James A. Oronoz        .
25                                                JAMES A. ORONOZ, Esq.
                                                  700 South 3rd Street
26                                                Las Vegas, NV 89101
                                                  Counsel for Carolyn Willis-Casey
27
28


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 1                                     STATEMENT OF FACTS
 2          On November 12, 2013, the United States Government filed a Second Superseding
 3   Indictment charging the Defendant, Carolyn Shelmadine Willis-Casey, along with several co-
 4
     defendants, with Theft of Government Money, in violation of 18 U.S.C. § 641; False
 5
     Citizenship Claim, in violation of 18 U.S.C. § 911; False Statement in Application for a
 6
 7   Passport, in violation of 18 U.S.C. § 1542; Aggravated Identity Theft, in violation of 18 U.S.C.

 8   § 1028(a)(1); Conspiracy, in violation of 18 U.S.C. § 1349; and Mail Fraud, in violation of 18
 9
     U.S.C. § 1341. Ms. Willis-Casey’s role in the conspiracy, at the outset, appears to have been
10
     relatively minor. On November 14, 2013, this Court issued an Order releasing Ms. Willis-
11
     Casey from pretrial detention on her own recognizance and setting several conditions of
12
13   release. Included among those conditions were requirements that Ms. Willis-Casey surrender

14   her legally obtained passport to pretrial services and that she obtain no other travel documents.
15
     She has complied with these requests.
16
            It has recently become necessary for Ms. Willis-Casey, a legal resident of the United
17
18   States, to renew her driver’s license. Further, Ms. Willis-Casey’s green card was stolen several

19   years ago and her first attempt to obtain a replacement was unsuccessful, necessitating a
20   reapplication for a replacement green card at this time. Both the process of renewing her
21
     driver’s license and reapplying for her green card require that Ms. Willis-Casey present her
22
     passport in order to verify her lawful presence in the Unites States. Ms. Willis-Casey estimates
23
24   that she will be able to complete both transactions within two days, provided that she is first

25   able to obtain an appointment with US Citizen and Immigration Services to obtain a
26   confirmation number and approval for her applications. Out of an abundance of caution, Ms.
27
     Willis-Casey is requesting a temporary return of her passport for two weeks in order to
28
     complete both transactions.

                                                      2
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 1           Ms. Willis-Casey now seeks an order from this honorable Court temporarily modifying
 2   her conditions of pretrial release and authorizing pretrial services to temporarily return her
 3
     passport so that she may obtain a drivers license and reapply for a replacement green card. Ms.
 4
     Willis Casey asks that she be granted possession of her passport for two weeks, in order to
 5
 6   ensure that she’s able to complete her applications.

 7           The Government, by and through U.S. Attorney J. Gregory Damm, does not oppose the
 8
     instant request.
 9
                        MEMORANDUM OF POINTS AND AUTHORITIES
10
             A judicial officer may, at any time, amend an order setting conditions of release in order
11
     to impose different conditions. 18 U.S.C. § 3142(c)(3).
12
13           Here, Ms. Willis-Casey asks only that the conditions of her release be modified

14   sufficiently to allow her to (1) renew her drivers’ license and (2) reapply for a replacement green
15
     card. Both of these actions must be completed in order for her to continue living and working in
16
     the United States. As mentioned above, she has cooperated fully with the conditions of her
17
18   pretrial release and there is no indication whatsoever that she is a danger to the community or

19   that she represents a flight risk such that she should not be allowed to possess her passport for a
20   brief, temporary period of time.
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 1                                             CONCLUSION
 2             For the reasons stated above, James A. Oronoz, Esq., respectfully requests that the
 3
     conditions of Ms. Willis-Casey’s pretrial release be modified such that she be allowed to
 4
     possess her passport for two weeks in order to complete the application processes described
 5
 6   herein.

 7             DATED this 8th day of January, 2014.
 8                                                  Respectfully submitted,
 9
                                                    /s/ James A. Oronoz        .
10                                                  JAMES A. ORONOZ, Esq.
                                                    Counsel for Carolyn Willis-Casey
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 5   jim@oronozlawyers.com
 6   Attorney for Defendant

 7                               UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9
                                                     )
10   UNITED STATES OF AMERICA,                       )
                                                     )
11
            Plaintiff,                               )     CASE NO.       2:12-cr-463-JCM-VCF
12                                                   )
            vs.                                      )      ORDER
13                                                   )
     CAROLYN WILLIS-CASEY,                           )
14
                                                     )
15          Defendant.                               )
                                                     )
16                                                   )
17                                                   )

18          IT IS HEREBY ORDERED that the conditions of Ms. Willis-Casey’s pretrial release be
19   modified so that she be allowed to obtain her passport from pretrial services for a period of two
20
     weeks from the date of the signing of this order, for the purposes of: (1) renewing her Nevada
21
     drivers’ license, and (2) reapplying for a replacement green card.
22
23
            January
     DATED AND  DONE9, 2014.
                       this ______ day of ________________, 2014.
24
                                                          _____________________________
25
                                                          UNITED STATES MAGISTRATE
26   Respectfully Submitted By:

27   /s/ James A. Oronoz
     James A. Oronoz, Esq.
28
     Nevada Bar No. 6769


                                                     5
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 1
                             CERTIFICATE OF ELECTRONIC SERVICE
 2
              The undersigned hereby certifies that I am an employee of Oronoz & Ericsson L.L.C. and
 3
 4   that I am a person of such age and discretion so as to be competent to serve papers.

 5            That on January 8, 2014, I served an electronic copy of the above and foregoing
 6
     UNOPPOSED MOTION TO TEMORARILY MODIFY CONDITIONS OF PRETRIAL
 7
     RELEASE AND PROPOSED ORDER by electronic service (ECF) to the person(s) named
 8
     below:
 9
10                           DANIEL G. BOGDEN
                             United States Attorney
11                           333 Las Vegas Blvd. South, #5000
12                           Las Vegas, NV 89101
                             Counsel for United States
13
                             J. GREGORY DAMM
14                           Assistant United States Attorney
15                           333 Las Vegas Blvd. South, #5000
                             Las Vegas, NV 89101
16                           Counsel for United States
17
18
                                                   /s/  Wade Beavers
19                                                 Employee of Oronoz & Ericsson L.L.C.
20
21
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